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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, CHELSEA
     ALVARADO, THOMAS BAKER,
     MARISSA BLAIR, MARCUS MARTIN,
     APRIL MUÑIZ, NATALIE ROMERO, and
     SETH WISPELWEY,
                                                             CASE NO. 3:17-cv-00072
                        Plaintiffs,

                              v.                             JUDGMENT

     JASON KESSLER, RICHARD SPENCER,
     CHRISTOPHER CANTWELL, JAMES                             JUDGE NORMAN K. MOON
     ALEX FIELDS, JR., VANGUARD
     AMERICA, ANDREW ANGLIN,
     MOONBASE HOLDINGS, LLC, ROBERT
     AZZMADOR RAY, NATHAN DAMIGO,
     ELLIOTT KLINE (a/k/a ELI MOSELY),
     MATTHEW HEIMBACH, MATTHEW
     PARROTT (a/k/a DAVID MATTHEW
     PARROTT), TRADITIONALIST
     WORKER PARTY, MICHAEL HILL,
     MICHAEL TUBBS, LEAGUE OF THE
     SOUTH, JEFF SCHOEP, NATIONAL
     SOCIALIST MOVEMENT,
     NATIONALIST FRONT, AUGUSTUS
     SOL INVICTUS, FRATERNAL ORDER
     OF THE ALT-KNIGHTS, LOYAL WHITE
     KNIGHTS OF THE KU KLUX KLAN, and
     EAST COAST KNIGHTS OF THE KU
     KLUX KLAN (a/k/a EAST COAST
     KNIGHTS OF THE TRUE INVISIBLE
     EMPIRE),

                          Defendants.


          This action came before the Court on October 25, 2021, to November 23, 2021, for a trial

   by jury. Plaintiffs adduced evidence and rested. Defendants adduced evidence and rested. The




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   issues having been tried, the jury returned a verdict attached hereto, in favor of the Plaintiffs as

   to liability on Counts III, IV, V and VI. The jury did not reach a verdict on Counts I or II.

           On Count III, the jury returned a verdict finding all Defendants liable for Virginia state

   law civil conspiracy, awarded nominal damages of $1.00 in Plaintiffs’ favor (to each of Natalie

   Romero, April Muñiz, Thomas Baker, Marissa Blair, Marcus Martin, Chelsea Alvarado, and

   Devin Willis), but awarding no damages to Plaintiffs Elizabeth Sines and Seth Wispelwey, and

   awarded punitive damages of $500,000 against each individual Defendant 1 and $1,000,000

   against each organizational Defendant. 2

           On Count IV, the jury returned a verdict in favor of Plaintiffs Natalie Romero and Devin

   Willis, finding Defendants Jason Kessler, Richard Spencer, Elliott Kline, Robert “Azzmador”

   Ray, and Christopher Cantwell liable for racial, religious, or ethnic harassment or violence in

   violation of Virginia Code § 8.01-42.1. The jury awarded Plaintiffs Romero and Willis $250,000

   each in compensatory damages, and awarded $200,000 in punitive damages each against

   Kessler, Spencer, Kline, Ray, and Cantwell. On Count IV, Plaintiffs Romero, Muñiz,

   Wispelwey, Sines, Blair, Martin and Willis also brought a claim against Defendant James Alex

   Fields, Jr. for violating § 8.01-42.1. The jury also found Defendant James Alex Fields, Jr., liable

   for violating § 8.01-42.1, but it did not assess any damages against him on that count

   specifically.

           On Count V, the jury returned a verdict in favor of Plaintiffs Natalie Romero, April

   Muñiz, Thomas Baker, Elizabeth Sines, Marissa Blair and Marcus Martin, finding Defendant


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           These Defendants were Jason Kessler, Richard Spencer, Christopher Cantwell, James
   Alex Fields, Jr., Robert “Azzmador” Ray, Nathan Damigo, Elliott Kline, Matthew Heimbach,
   Matthew Parrott, Michael Hill, Michael Tubbs, and Jeff Schoep.
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            These Defendants were Vanguard America, League of the South, Identity Evropa,
   Traditionalist Worker Party, and Nationalist Socialist Movement.


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   Fields liable for assault and battery, and determined total compensatory damages to be $803,277.

   The jury awarded compensatory damages to these Plaintiffs in the following amounts: $217,715

   to Romero; $108,000 to Muñiz; $318,575 to Baker; $2,000 to Blair; and $156,987 to Martin; but

   awarding no compensatory damages to Sines. The jury further assessed $6,000,000 in punitive

   damages against Fields on that count.

          Finally, on Count VI, the jury returned a verdict in favor of Plaintiffs Romero, Muñiz,

   Baker, Sines, Blair, and Martin, finding Defendant Fields liable for intentional infliction of

   emotional distress, and calculating total compensatory damages in the amount of $701,459. The

   jury awarded compensatory damages to these Plaintiffs in the following amounts: $155,715 to

   Romero; $50,000 to Muñiz; $246,757 to Baker; $50,000 to Sines; $100,000 to Blair; and

   $98,987 to Martin. The jury further assessed $6,000,000 in punitive damages against Fields on

   that count.

          It is hereby ADJUDGED AND ORDERED that the jury verdict be and hereby is filed.

   All motions made during trial are shown on the transcript together with the action thereon.

   Having considered and ruled upon post-trial motions challenging the jury verdict in this case and

   seeking reduction in the jury’s punitive damages award, the Court has affirmed the jury verdict

   findings of Defendants’ liability, and the nominal and compensatory damages awards.

   Dkts. 1622, 1623, 1629. All Defendants will be jointly and severally liable for the nominal and

   compensatory damages awarded by the jury on Counts III, IV, and V, which amount is

   $1,303,284. Defendant Fields is additionally liable for the compensatory damages awarded on

   Count VI, which amount is $704,459.

          In addition, the Court granted in part certain Defendants’ post-trial motions, only to the

   extent they sought a reduction of the punitive damages award in accordance with Virginia’s

   statutory cap on punitive damages. Dkts. 1622, 1623, 1629. Therefore, the Court reduced the


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   jury’s punitive damages award to $350,000, as compelled by the Virginia statutory cap on

   punitive damages. In addition to their nominal and compensatory damages liability, each

   Defendant found liable by the jury at trial is also liable for their pro rata portion of the capped

   punitive damages award of $350,000, as follows: $182,291.68 for Fields; $14,583.33 for each of

   Vanguard America, League of the South, Identity Evropa, Traditionalist Worker Party, and

   National Socialist Movement; $10,208.33 for each of Kessler, Spencer, Cantwell, Ray, and

   Kline; and $7,291.67 for each of Damigo, Heimbach, Parrott, Hill, Tubbs, and Schoep. In all

   other respects besides the reduction of the punitive damages award, the Court affirmed the jury

   verdict.

          It is therefore ADJUDGED AND ORDERED that Judgment is therefore entered in

   favor of Plaintiffs on Counts III, IV, V, and VI, a MISTRIAL is declared on Counts I and II,

   and this case is DISMISSED from the Court’s active docket. Plaintiffs are further entitled to

   post-judgment interest under 28 U.S.C. § 1961.

          The Clerk of Court is directed to send this Judgment to the parties.

                        9th
          ENTERED this ______ day of January, 2023.




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